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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS

DEBORAH LAUFER, Individually,
Plaintiff,
   V.
                                                        Case No. 1:20-cv-03527
U.L.S.T., LLC d/b/a WATERFRONT HOTEL                    Honorable Gary Feinerman
& MARINA, an Illinois Limited Liability                 Magistrate Judge Sheila M. Finnegan
Company,
Defendant.
-______________________________________

DEFENDANT’S REPLY FURTHER SUPPORTING ITS F.R.C.P. 12 (1) & (6) MOTION


         Defendant U.L.S.T., LLC d/b/a Waterfront Hotel and Marina (“Waterfront Hotel”), by its

undersigned attorneys, submits this reply memorandum in further support of its F.R.C.P. 12 (1)

and (6) Motion to Dismiss the Complaint of Plaintiff Deborah Laufer (“Ms. Laufer”).

         In its initial memorandum, Waterfront pointed out that Plaintiff lacked standing for one

very simple reason. She never alleged that she ever intended to stay at the Waterfront Hotel

when she accessed the hotel’s third-party websites. Further, she did not allege that she ever

intended to visit Illinois in the future where the hotel is located. Consequently, her so-called

injuries were merely a generalized harm and are not the concrete and personalized injuries

necessary to confer standing. Carello v. Aurora Policemen Credit Union, 930 F. 3d 830 (7th Cir.

2019).

         Ms. Laufer has filed an opposition memorandum arguing that she does not need to ever

intend to stay at the Waterfront Hotel to meet the standing requirements. Yet, she cites no cases

of the Seventh Circuit or its underlying district courts to support her argument. As this Court is

aware, “binding” or “controlling” authority only comes from the U.S. Supreme Court or the

Court of Appeals in which a given district court is located. United States v. Glaser, 14 F. 3d

1213, 1216 (7th Cir. 1987 ). Thus, the cases cited by Ms. Laufer from the other Circuits or their
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district courts are not binding here.

       More importantly, these cases are also inconsistent with Carello. As in Carello, the

plaintiff’s complaining about the credit union’s website when he could not be a member, and

therefore lacked standing, is the equivalent of not ever intending to stay at the hotel whose

website you have accessed. What harm have you really suffered if you have no intentions of

staying at the hotel? Possibly, you may be bothered or offended as a disabled person that the

website may not comply with the ADA requirements for websites. But, as explained by the

Seventh Circuit, your injury is only a generalized harm. “[D]ignitary harm stemming for the

mere knowledge that discriminatory conduct is occurring is an ‘abstract stigmatic injury’ that the

plaintiff lacks standing to vindicate.” Carello at 834. Similarly, if Ms. Laufer had no intentions

of staying at the hotel, her injury is only an abstract stigmatic injury as well.

       Unfortunately, however, the motion to dismiss does not end with the above. Ms. Laufer

reminds the Court of some well recognized rules on motions to dismiss. All well pled factual

allegations are assumed to be true. The Court is to confine itself to the four corners of the

complaint. Yet, while in the Complaint she does not ever allege that she intended, now or in the

future to visit Illinois, she does not stand on her complaint alone to try to defeat Waterfront

Hotel’s motion.

        Instead, she submits an affidavit to fill a critical omission in the complaint, claiming now

that she may visit Illinois after the COVID-19 pandenic is over. Supplementing a complaint with

an affidavit in opposition to a motion to dismiss is only appropriate when the affidavit statements

are consistent with the allegations of the complaint. Boim v. Quranic Literacy Institute, 127 F.

Supp. 2d 1002, 1009 (N.D. Ill. 2001). Her affidavit is completely inconsistent with her complaint

in which she never made any such allegations of ever intending to visit Illinois.
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        Indeed, the affidavit is highly questionable. She has filed about two hundred similar suits

in New York, Massachusetts, and Connecticut, among other states, alleging that a hotel’s,

lodging’s, or inns’ websites are supposedly non-ADA compliant. In New York alone, she has

filed 114 such suits. Thomas Bacon, one of the lawyers on the pleading and brief, has been

repeatedly criticized for representing her and others in these lawsuits. Thus, this Court should

disregard the affidavit and render a ruling based only on the four corners of the complaint.1

        Moreover, her statement that she “plans” to visit is conclusory and speculative. Plans

often change for a myriad of reasons. That someone plans on visiting is certainly not the

equivalent of “will” visit. Indeed, that someone might visit is the type of hypothetical question

that is insufficient to confer standing. Howe v. Speedway, LLC, 2018 WL 2445541, pp. 12-13 (N.

D. Ill 2018) (“ ‘Respondents cannot manufacture standing merely by inflicting harm based on

their fears of hypothetical future harm that is not certainly pending.’” citing Whitmore V.

Arkansas, 495 U.S. 149, 158 (1990).)

        For the reasons stated in Waterfront Hotel’s initial memorandum and in this reply, its

motion should be granted.




1. If Ms. Laufer is allowed to amend, her allegations that the Waterfront Hotel’s third party are now non-ADA
complaint would be false. So would any allegations that the hotel’s own website and the hotel itself are non-ADA
compliant.
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                            DEFENDANT U.L.S.T., LLC d/b/a WATERFRONT
                                   HOTEL AND MARINA,
                                    By: /s/ Lawrence Rosen
                                     (One of its Attorneys)




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                           CERTIFICATE OF SERVICE


          The undersigned certifies under applicable law that this Reply was served on plaintiff’s
attorney through the court’s electronic-filing system under F.R.C.P. 5 (b) (1) & (2) (E) and by
emailing copies to kimberlyatlaw@gmail.com and robert_lewin@hotmail.com on September 4,
2020.

                                    /s/ Lawrence Rosen
